                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


SCOTT MCCRAY,

       Plaintiff,

       v.
                                                      Case No. 18-cv-01637
ROBERT WILKIE,
Secretary of Veterans Affairs,

       Defendant.


                    ORDER LIFTING STAY AND EXTENDING DEADLINES


       IT APPEARING THAT appropriations have been restored to fund the Department of

Justice, IT IS THEREFORE ORDERED that the stay entered by this Court by Order dated January

9, 2019 is hereby lifted, and any and all deadlines in the above-captioned case (whether established

by order, rule, or agreement), including but not limited to any responsive pleading deadlines, are

extended by 35 days.


       Dated at Milwaukee, Wisconsin, this ___ day of ________, 2019.


                                 BY THE COURT:



                                 David E. Jones
                                 United States Magistrate Judge




            Case 2:18-cv-01637-DEJ Filed 01/29/19 Page 1 of 1 Document 12
